       Case 1:21-cr-00392-RCL          Document 522        Filed 01/03/25     Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                       Case No. 1:21-cr-392-02-RCL

 RUSSELL TAYLOR,

        Defendant.


                                  MEMORANDUM ORDER

       Mr. Russell Taylor was indicted on six counts, including multiple felony charges, for his

participation in the Capitol Riots of January 6, 2021. See Superseding Indictment, ECF No. 89.

On April 19, 2023, Mr. Taylor pleaded guilty to Conspiracy to Obstruct an Official Proceeding, in

violation of 18 U.S.C. § 1512(k). See Plea Agreement 1, ECF No. 196. As part of Mr. Taylor’s

plea agreement, the Government agreed to dismiss all other charges against him, and Mr. Taylor

agreed to assist the Government in the prosecution of his co-defendants. Id. at 2. As agreed, Mr.

Taylor rendered substantial assistance to the prosecution, providing important information and

testimony which, in part, led to the convictions of his co-defendants. See, e.g. Trial Transcripts,

ECF Nos. 516, 322.

       On May 5, 2024, in consideration of his assistance, the Court sentenced Mr. Taylor to

thirty-six months’ probation and no prison time. See Judgment, ECF No. 492. Mr. Taylor’s

probationary sentence was not only below the range prescribed by the Sentencing Guidelines—

which recommended a prison term of approximately two years—but also considerably below the

sentences his co-defendants ultimately received. See Judgment as to Alan Hostetter, ECF No. 384

(135 months imprisonment); Judgment as to Ronald Mele, ECF No. 474 (thirty-three months

imprisonment); Judgment as to Derek Kinnison, ECF No. 472 (thirty-three months imprisonment);




                                                1
       Case 1:21-cr-00392-RCL          Document 522         Filed 01/03/25      Page 2 of 5




Judgment as to Felipe Antonio Martinez, ECF No. 470 (twenty-one months imprisonment);

Judgment as to Erik Scott Warner, ECF No. 468 (twenty-seven months imprisonment).

       As a condition of Mr. Taylor’s probationary sentence, he is required to secure permission

from a probation officer or the Court before leaving the Central District of California, where he

resides. See Judgment at 3. The Probation Office considers this to be a “standard condition[] of

supervision” commonly applied in probationary sentences. Id. Pursuant to this condition, Mr.

Taylor has asked for the Court’s permission to travel to Washington, D.C. from January 16, 2025

to January 21, 2025 so that he may attend the upcoming Presidential Inauguration ceremony with

his wife and children. See Mot. to Travel, ECF No. 520. Affixed to the Motion is an invitation

from former Utah Congressman Chris Stewart, attesting to Mr. Taylor’s integrity, faith, and good

values. See Mot. to Travel Ex. 1, ECF No. 520-1. The Government has filed an opposition to Mr.

Taylor’s Motion, see Opp’n, ECF No. 521, and Mr. Taylor’s time to file a reply has now run. The

Motion is therefore now ripe for this Court’s review, and for the reasons contained herein, it is

hereby DENIED.

       As a preliminary matter, the Government’s opposition brief states that Mr. Taylor’s Motion

to Travel is “in effect a motion to modify the conditions of the defendant’s probation.” Id. at 1.

This is not true. Mr. Taylor’s conditions of probation permit him to travel outside of the Central

District of California if he first garners the appropriate permission. In his Motion, Mr. Taylor is

seeking such permission. He is, therefore, not requesting a modification of his release terms, but

rather is acting consistently with the conditions of his probation, as he has evidently done since he

was sentenced.

       Nevertheless, the decision to grant or withhold permission to travel is within the Court’s

discretion, and this Court finds that the particular nature and severity of Mr. Taylor’s conduct at




                                                 2
       Case 1:21-cr-00392-RCL          Document 522         Filed 01/03/25      Page 3 of 5




the Capitol Riots counsel against giving him the permission to travel that he now seeks.

Contemporaneously with his plea agreement, Mr. Taylor signed a Statement of Offense, in which

he affirmatively admitted to certain conduct before and during the events of January 6, 2021. See

Statement of Offense, ECF No. 197. Specifically, Mr. Taylor affirmed that he traveled to the

District of Columbia with the “intent . . . to intimidate Congress . . . in order to . . . influence

members of Congress to reject the certification of the 2020 electoral college vote . . . .” Id. ¶ 10.

More than a week before the event, Mr. Taylor expressed his desire to “be on the front steps and

be one of the first ones to breach the doors” of the Capitol. Id. ¶ 13. He gave a backpack full of

weapons, including “a knife, a stun baton, two hatchets, and carbon fiber knuckle gloves,” to his

co-defendant Alan Hostetter to transport to D.C., believing that he could not bring them himself

by plane, and actively encouraged others to bring weapons and armor to the Capitol as well. Id.

¶¶ 14–15, 18, 24. Mr. Taylor brought a knife and plate carrier vest to the Capitol and carried a

backpack containing a hatchet and stun baton. Id. ¶ 29. During the Riots, Mr. Taylor pushed past

police barricades, encouraged fellow rioters to push against a police line where officers were being

visibly assaulted, joined the push himself, and repeatedly threatened the police protecting the

Upper West Terrace that it was their “[l]ast chance” to “stand down” and abandon their position.

Id. ¶¶ 32, 36. In messages that he sent later that evening, Mr. Taylor openly acknowledged that

he possessed weapons throughout the day’s events, and when asked what would happen next, he

replied “[i]nsurrection!” Id. at 38.

       This summary paints the picture of Mr. Taylor’s unusually grave conduct. While he did

not personally assault law enforcement officers, he did threaten them and encourage other rioters

who were actively assaulting them. He also contributed meaningfully to the sheer danger of the

day’s events by arriving armed and armored, encouraging others to do the same, and even




                                                 3
       Case 1:21-cr-00392-RCL           Document 522         Filed 01/03/25      Page 4 of 5




providing weapons to Mr. Hostetter. And although Mr. Taylor’s rhetoric on the day of the Capitol

Riots is interspersed with pro-America motifs and allusions, his unlawful conduct and his later

espousal of “insurrection” belie any patriotic motives he may have professed that day.

       As detailed above, Mr. Taylor commendably took responsibility for his actions and

furnished extensive assistance to the Government. For this, he earned a probationary sentence—

which, as also discussed above, is drastically more lenient than the sentences each of his co-

defendants received—and the right to ask this Court for permission to travel. But Mr. Taylor’s

cooperation and good conduct while on probation do not diminish the seriousness of his acts on

January 6, 2021, to which he has voluntary admitted, nor do they entitle him to the permission he

now seeks. To attend the Presidential Inauguration, which celebrates and honors the peaceful

transfer of power, is an immense privilege. It would not be appropriate for the Court to grant

permission to attend such a hallowed event to someone who carried weapons and threatened police

officers in an attempt to thwart the last Inauguration, and who openly glorified “[i]nsurrection”

against the United States.

       In arriving at this decision, the Court duly considered former Congressman Stewart’s letter

endorsing Mr. Taylor’s character. The Court takes no position today on Mr. Taylor’s good

attributes to which the letter gestures, namely his “integrity,” “faith,” family values, and service to

the less fortunate. Such personal attributes may inform the Court’s decision at sentencing, but to

reiterate, Mr. Taylor already received an unusually lenient sentence relative to the acts he

committed. In addition to his cooperation and acceptance of responsibility, that sentence took into

account many of the attributes mentioned in the letter: Mr. Taylor’s otherwise law-abiding life,

steady employment, lack of drug use, family support, and community involvement, among other

factors. However, Mr. Taylor’s good traits and adherence to his terms of probation are of only




                                                  4
Case 1:21-cr-00392-RCL   Document 522   Filed 01/03/25   Page 5 of 5
